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                                    EXHIBIT B

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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  )     Chapter 11
                                                            )
    CB Holding Corp., et al.1                               )     Case No. 10-13683 (MFW)
                                                            )
                        Debtors.                            )


   ORDER GRANTING MOTION FOR ORDER: (A) EXCUSING NEED TO MAKE
  DISTRIBUTIONS FOR CLAIMANTS WITHOUT TAXPAYER IDENTIFICATION
   NUMBERS AND PROVIDING THAT SUCH CLAIMANTS HAVE FORFEITED
RIGHTS TO ANY DISTRIBUTIONS; AND (B) APPROVING RELATED WIND DOWN
               RELIEF REGARDING LIQUIDATING TRUST

                   Upon consideration of the motion (the “Motion”)2 of Deloitte Financial Advisory

Services LLP, the Liquidating Trustee (the “Trustee”) for the CB Holding Corp. Liquidating Trust

(the “Trust”) established under the confirmed chapter 11 plan in the above-captioned case of the

above-captioned debtors (collectively, the “Debtors”), for entry of an order (this “Order”): (a) that

any Unreturned Tax ID Creditors (as defined in the Motion) listed on Schedule 1 attached to this

Order that have not provided requested taxpayer identification numbers shall be deemed to forfeit

any rights to a distribution under the Plan or from the Trust and providing that the Trustee is

excused from making any distributions to the Unreturned Tax ID Creditors; and (b) approving

related relief regarding certain Wind-Down Activities of the Trust, as more fully set forth in the

Motion; and the Court having jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. § § 157 and 1334, the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012, and Article XII

of the Plan; and it appearing that this Court may enter a final order consistent with Article III of the

United States Constitution; and it appearing that this proceeding is a core proceeding pursuant to

1
  The Debtor’s former address was 1450 Route 22 West, Mountainside, NJ 07092. The chapter 11 case of Debtor CB Holding
Corp. is the surviving open case. The Debtor’s related debtor affiliates were previously closed by order of the Court.
2
    Capitalized terms not defined herein shall have the meaning attributed in the Motion.


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28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding and the Motion in this Court

is proper pursuant to 28 U.S.C. § § 1408 and 1409; it appearing that due and proper notice of the

Motion having been provided to those parties identified therein, and no other or further notice

being required; and the Court having determined that the relief sought in the Motion is in the best

interests of the Debtor, the Trust, the estate, creditors, and all parties in interest; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and after due deliberation and sufficient cause appearing therefor, IT IS

HEREBY ORDERED THAT:

                 1.          The Motion is GRANTED.

                 2.          The Unreturned Tax ID Creditors listed on Schedule 1 attached to this

Order shall not be entitled to any distributions in this chapter 11 case and any distributions to the

Unreturned Tax ID Creditors listed on Schedule 1 are deemed forfeited, except to the extent that

any governmental entities on Schedule 1 are not required by law to have a taxpayer identification

number and except to the extent that the Trustee determines that a taxpayer identification form is

not needed from a particular Unreturned Tax ID Creditor, including, but not limited to, for IRS

reporting purposes. The Trustee is hereby excused from making any distributions under the Plan

or Trust to the Unreturned Tax ID Creditors listed on Schedule 1 attached to this Order.

                 3.          The Trustee is hereby authorized to make such revisions as are necessary to

the official claims register in this chapter 11 case or to any other any list or lists of parties for

purposes of distributions to be made.

                 4.          The Trustee, on behalf of the Trust, is authorized to wind up the affairs of

the Trust with the Wind-Down Activities, notwithstanding the termination of the Trust. The

failure to expressly list any particular task in the Motion necessary to wind down the affairs of the



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Trust under the LTA shall not be deemed a limitation on action by the Trustee to take whatever

acts the Trustee deems necessary to complete the dissolution of the Trust.

                 5.          Upon dissolution of the Trust and the closing of its bank accounts, the Trust,

the Trustee, and the Trust’s professionals and attorneys, are hereby fully released and discharged

of their duties and obligations in carrying out the terms of the Trust and have no further

responsibilities in connection therewith, except as required to comply with the terms of this Order.

                 6.          The Trustee is hereby authorized to take such actions or execute or file such

documents as are necessary or appropriate to effectuate the provisions of this Order and the LTA.

                 7.          The Trustee is hereby authorized to take such actions or execute or file such

documents as are necessary or appropriate to effectuate the provisions of this Order and the Plan.

                 8.          To the extent applicable, any stay imposed by the Bankruptcy Rules shall

not apply.

                 9.          Notwithstanding anything to the contrary, the terms and conditions of this

this Order shall be immediately effective and enforceable upon its entry.

                 10.         The Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.



Dated: ____________________, 2019
                                                            The Honorable Mary F. Walrath
                                                            United States Bankruptcy Judge




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t 1 ID
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   UNRETURNED TAX ID CREDITORS                      UNRETURNED TAX ID CREDITORS
   850 PROVIDENCE HWY ASSOC LP                      BRENT BAZZANO
   AARON SIMMONS                                    BRIAN MANGAS
   ACADEMY FIRE PROTECTION                          BRIAN VILLANOVA
   ACCURATE STEAM CLEANING                          BURLINGTON COUNTY TIMES
   ACTIVE FIRE CONTROL                              CAJUN AIR, INC.
   ADT SECURITY SERVICES INC                        CALIP DAIRIES
   AFI FOODSERVICE, LLC                             CAMHZN MASTER LDC
   AJ IMAGES INC                                    CAMOFI MASTER LDC & CAMHZN MASTER
   AL E GATORS INC                                  LDC
   ALBERT E CHRONE TRUST                            CARL A. FRITZ
   ALC DEVELOPING INC DBA NYC FIRE CONTROL          CARLOS FIORETE
   ALFRED L FREGEAU                                 CASTLE POINT LANDSCAPE DESIGN
   ALPHA 3 LLC                                      CENTRAL HUDSON GAS & ELEC CORP
   AMERICAN FIRE & SAFETY, INC                      CENTRAL MARYLAND ASSOC.INC.
   American Fruit & Vegetable Co. Inc.              CENTURY OFFICE PRODUCTS OFFICE
   AMERICAN HOME ASSURANCE COMPANY ET               PRODUCTS
   AL                                               CHAMBERLIN PLUMBING & HEATING
   AMERICAN LEASING INC                             CHRISTINA LA ROCCO
   ANANIA PLUMBING                                  CHRISTOPHER HAIGHT/CLIMATE CARE LLC
   ANDY RODENHISER PLBG & HTG INC                   CIT TECHNOLOGY FINANCING SERVICES INC
   ANTONIO RAYMUNDO                                 CITY OF NEWNAN, GA
   ARCHER CAPITAL FUND                              CITY OF PHILADELPHIA
   ARENT FOX LLP                                    CNI INC.
   ARSENAL MALL - 4916 BUGCR//                      CNL APF PARTNERS, LP
   ASAP FIRE & SAFETY CORPORATION                   COLLINS, MARTIN
   ASSOCIATED HEALTH FOUNDATION INC                 COLUMBIA GAS OF PENNSYLVANIA
   ATLANTA REFRIGERATION SERVICE                    CONSOLIDATED EDISON CO OF NEW YORK INC
   ATLANTA SPRINKLER INSPECTION COMPANY             CONSTELLATION NEWENERGY INC
   ATLANTIC PROFESSIONALS                           CORNELIUS W DANIEL III BUCHTA EST
   AUDREY PEPPI-DONALDSON                           CORNERSTONE DESIGN/BUILD SERVI
   BARBARA NADAF                                    CORPORATE RESEARCH INTERNATIONAL
   BELINDA YUCIS                                    COVERALL NORTH AMERICA
   BERKEL OF NEW YORK, INC.                         COYLE REPRODUCTIONS, INC.
   BERKHEIMER TAX ADMINISTRATOR                     CRUNCHTIME INFORMATION SYSTEMS, INC.
   BERKMAN COMMUNICATIONS INC.                      CRYSTAL CLEAR & SONS
   BEVERLY BROWN / CUSTOM LASER &                   CRYSTAL CLEAR & SONS, INC
   PRINTING
                                                    CRYSTAL CLEAR BEER LINES
   BLANK ROME LLP
                                                    CULLIGAN
   BLUEWATER HLD CORP
                                                    DANIELLE NICOLE BRUSCINO
   BMW FINANCIAL SERVICES NA, LLC
                                                    DEBBY TAIT
   BOLLIN LABEL SYSTEMS
                                                    DEBORAH BARTALINI
   BRAINTREE WATER AND SEWER



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                                      Unreturned Tax ID Creditors
   UNRETURNED TAX ID CREDITORS                             UNRETURNED TAX ID CREDITORS
   DEBORAH ROSARIO-SHAW                                    FRAN KENNEDY COFFEE CO.
   DEDHAM WESTWOOD WATER DISTRICT                          FRANCES CACACE & EDWARD CACACE
   DELMAR ENTERPRISES INC.                                 FULTON COUNTY TAX COMMISSIONER
   DELMARVA POWER                                          G & G COMMERCIAL SYSTEMS
   DEPENDABLE LOCK SERVICE                                 GDF SUEZ ENERGY RESOURCES
   DIRECT ENERGY BUSINESS                                  GEORGE E MCCARTHY JR & KIMBERLY M
   DIRECT ENERGY BUSINESS                                  GEORGE E MCCARTHY JR
   DIRECT MARKETING SERVICES                               GEORGE J SCHAEFER IV
   DIRK L. WESLEY                                          GISELLE BROWN REALTY LLC
   DONNA DEMARCKY                                          GLOBAL UNIFORM CO., INC
   DORNBUSH SCHAEFFER STRONGIN &                           GLOBE NEWSPAPER CO INC DBA BOSTON
   VENAGLIA                                                GLOBE
   DOUGLAS CONTRACTING                                     GOCA CLEANING SERVICE
   E&A NORTHEAST LIMITED PARTNERSHIP                       GOLDEN IMAGE SERVICES,LLC
   EAGLE SANITATION INC                                    GOLDEN ROTHSCHILD SPAGNOLA LUNDELL
   EAST COAST FIRE & VENTILATION INC                       GOLDEN-GLO CARPET CLEANERS
   ECONNERGY                                               GRAND LODGE KNIGHTS OF PYTHIAS
   ELGE PLUMBING AND HEATING CO., INC.                     GRANITE TELECOMMUNICATIONS LLC
   ELITE PLUMBING & HEATING, INC.                          GREEN GRACE INC
   ELIZABETHTOWN GAS                                       GREGCOH LLC
   ELLEN NEFF                                              GWINNETT CITY TAX COMM
   ELLIS COFFEE COMPANY                                    HANG WANG
   ELRAC LLC D/B/A ENTERPRISE FLEET                        HELIUM PLUS, LLC
   EMCON ASSOCIATES INC                                    HOLLY ANN STARR
   EMPIRE ACQUISITION & MANAGEMENT LLC                     HOMETOWN CARPET CLEANING
   ENGLISH ASSOCIATES                                      HONG L. HUANG
   ENVIRONMENTAL BIOTECH OF BOSTON                         HOWARD GOLDSTEIN
   ERIC PRESTEL                                            HOWARD REFRIGERATION & A/C CO
   ERIC VELEZ                                              HOWELL CONSTRUCTION LLC
   ESS INC AND AFFILIATES                                  HUDSON AWNING & SIGN CO. INC.
   ESTATE OF BUCHTA/CHARLES BUCHTA/                        I. RUGGIERI PHOTOGRAPHY, INC.
   ESTATE OF DIANA I ARNOTE                                IDEAS TO GO INC.
   ESTATE OF JACK RABIN                                    INLAND WESTERN PLYMOUTH 5 LLC
   EVA A. WHITNEY                                          INSTALL "A" LOCK
   FISHBOWL INC                                            ISLAND OASIS FROZEN COCKTAIL COMPANY
   FIXITUSA                                                INC
                                                           J&J AIR CONDITIONING & REFRIGERATION LLC
   FOOD EQUIPMENT SERVICE
                                                           JACKSON LEWIS LLP
   FOOD SAFETY SPECIALTIES INC
                                                           JAMES PICOZZI
   FOREST CITY COMMERCIAL MANAGEMENT
   INC                                                     JANET WEBER
   FORGE OF TENAFLY REAL ESTATE ASSOC LLC                  JAN-PRO OF CENTRAL NJ



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                                      Unreturned Tax ID Creditors
   UNRETURNED TAX ID CREDITORS                             UNRETURNED TAX ID CREDITORS
   JAYSON WEISSENBURGER                                    MARCIO FRAGA
   JBRADFORD STAHLE                                        MARK ROADARMEL ELECTRICAL CONTRACTOR
   JEFFREY MOYER                                           LLC
                                                           MARRA CARPET CLEANING
   JEN-TEC CONTRACTING
                                                           MARTHA ARENAS
   JENNIFER LYNN DOAN
                                                           MBK INVESTMENTS, LLC
                                                           MCADAMS GROUP
   JERSEY CENTRAL POWER & LIGHT                            MEADOWBROOK DISTRIBUTING COMPANY
   JIM DEMERS/COMMERCIAL EQUIP REPAIR INC                  METROPOLITAN EDISON COMPANY
   JINNI ROCK BAILEY                                       MEYERS RODBELL & ROSENBAUM
   JOAN JACKSON                                            MICHAEL F BURNS
   JON TREVILLYAN - BETHANY ASSOCIATES                     MICHAEL HAMPAR
   JOLT ELECTRIC & OIL BURNER                              MICHAEL RABINOWITZ
   JOO, KAY                                                MICROWAVE ATLANTA
   JOSEPH D SALVIA                                         MIDDLESEX WATER COMPANY
   JOSEPH CARMEN MORELLA                                   MID-STATE APPLIANCE SERVICE COMPANY
   JOSEPH RICCOBONO                                        MILESTONE TOWING
   JOSEPHINE ANNA BARNETT                                  MONROE COUNTY WATER AUTHORITY
   JOY LINNARTZ                                            MRD SERVICES
   JOYCE JACOBSON                                          MUZAK LLC
   KATHARINE S. REINA                                      NAFCO WHOLESALE FISH DEALERS
   KATHLEEN KWELTY & JOSEPH KWELTY H/W                     NASHUA WASTE
   KEYSPAN GAS EAST CORP DBA NATIONAL                      NATIONAL COMMUNICATIONS INC.
   GRID                                                    NATIONAL RETAIL PROPERTIES LP
   KIRK ANTHONY SCHWARTZ                                   NELLIGAN SPORTS MARKETING INC
   KOHLBERG CAPITAL CORPORATION                            NELMAR
   LARRY KIMBALL                                           NEW JERSEY AMERICAN WATER COMPANY
   LAW OFFICE OF NORMAN A. DOYLE, JR.                      NEW WESTGATE MALL, LLC
   LEGALINK, INC                                           NEW YORK STATE WORKERS' COMP BOARD
   LEONARD T & ETTA LA VECCHIO                             NICHOLAS BILOTTA
   LIBERTY MUTUAL INSURANCE COMPANY                        NICKOLAS BOUZOS
   LINDA BEYE                                              NORTH EAST LINEN SUPPLY CO
   LINGO INC DBA TOOTERS PROMOTIONS                        NORTH JERSEY MEDIA GROUP INC.
   LITTLE BAY LOBSTER                                      NORTHEAST ENVIRONMENTAL TESTING LAB
   LMI ELECTRICAL CONTRACTORS, INC.                        INC
   LONG ISLAND REPAIR CO INC                               NORTHSHORE MALL - 4923 BUGCR//
   LORRAINE M. ABAJIAN                                     NSTAR GAS
   LOUGHLIN PROPERTIES, LLC                                OAKLEAF WASTE MGMT
   LYNK SOFTWARE INC                                       OCEAN TENTS AND PARTY RENTALS
   MACIEJ MALINOWSKI                                       OILMATIC SYSTEMS LLC
   MACNEIL GLASS CO INC                                    O'KANE-FILARCA-NORTHRIDGE LLC ET AL



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                                     Unreturned Tax ID Creditors
   UNRETURNED TAX ID CREDITORS                             UNRETURNED TAX ID CREDITORS
   OMEGA PSI PHI FRATERNITY                                SAMUEL & SONS
   OSCAR'S LLC                                             SANDRA SCUDDER
   OXFORD VALLEY MALL - 7707 CHABR//                       SAXONY EQUIPMENT DISTRIBUTORS
   PADUANO & WEINTRAUB LLP                                 SCALA, JOHN
   PAIGE COMPANY CONTAINERS, INC.                          SCI COBB PLACE FUND LLC
   PALACE LAUNDRY/ DBA/LINENS OF THE WEEK                  SCOTT HOEZ PLUMBING
   PARISEAU ELECTRIC, INC                                  SERF N TURF INC
   PATCO REALTY SOUTH, LLC                                 SHAUN KUCZEK
   PAUL SCHMIDT ENTERPRISES                                SHU MIN CHEN
   PAULA & BARRY BOULDEN                                   SIMPLEXGRINNELL LP
   PENNICHUCK                                              SITE IMPROVEMENTS INC. ,
   PETER HINES                                             SMART BUSINESS ADVISORY & CONSULTING
   PETER M. SIRKIN                                         LLC
                                                           SMITHTOWN VENTURE LIMITED LIABILITY
   PFG MILTONS, INC.
                                                           COMP
   PHILADELPHIA MEDIA NETWORK                              SOBIESKI, MICHAEL
   PHYLLIS BUCKNER & RAY BUCKNER                           SPECIALTY LIGHTING & RECYCLING INC
   PICKARD, JOHN                                           SPEEDY, SEWER, DRAIN
   PITNEY BOWES GLOBAL FINANCIAL SERVICES                  SPRINGDALE ENTERPRISES LTD PARTNERSHIP
   PITNEY BOWES INCORPORATED                               SPRINGFIELD SQUARE SOUTH, L.P.
   PLAZA AT BUCKLAND HILLS LLC 0728 BUGCR//                STANDING OVATIONS
   PRICEWATERHOUSECOOPERS LLP                              STATE OF NEW JERSEY
   PRONTO REPAIRS, INC.                                    STEPHEN MARIORENZI
   PUBLIC SERVICE OF NEW HAMPSHIRE                         STEPHENS CONSTRUCTION & CARPENTRY INC
   QWEST COMMUNICATIONS COMPANY LLC                        STEVE MCCRORY
   R.M. FLAGG COMPANY                                      STEVEN LEVY- FLASHBACK INC.
   RAGGS SEPTIC SERVICE INC                                SUFFOLK COUNTY WATER AUTHORITY
   RARE HOSPITALITY HOLDINGS LLC                           SUFFOLK LOCK & SECURITY
   RICHMOND PLUMBING                                       SYSCO ATLANTA LLC
   ROBERT CLARK                                            SYSCO BOSTON LLC
   ROBERT M. MIRANDA                                       T & B ROYAL REPAIRS
   ROCHESTER GAS & ELECTRIC                                TALL TIMBERS DEVELOPMENT
   RODRIGO FRAGA                                           TALX UC EXPRESS
   ROSA THORPE                                             TALX
   ROSALIND LAWRENCE                                       TAPPAN REALTY COMPANY
   ROSARIO NICASTRO                                        TECO ELECTRIC COMPANY
   ROYAL FLUSH PLUMBING INC                                TED E BEARS INC
   RSTL INC                                                THE CONNECTICUT LIGHT AND POWER
   RUTH HANDLER                                            COMPANY
   RYAN KELSO                                              THE STERITECH GROUP, INC.
   SAMANTHA E. LUSCOMBE                                    TOM WEBBER
                                                           TONY'S GLASSWORKS


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                                     Unreturned Tax ID Creditors
   UNRETURNED TAX ID CREDITORS
   TOWN OF BURLINGTON
   TOWN OF SEEKONK
   TRI-STAR MECHANICAL
   TRI-STATE ASPHALTINC.
   UNIFIRST CORPORATION
   UNIQUE HOME REMODELING LLC
   VALLEY NATIONAL GASES
   VAULTLOGIX
   VERIZON WIRELESS
   VERIZON
   VILLADOM TIMES
   VISUAL IDENTITY GROUP INC
   WALTER W MOORE
   WATERPART LLC
   WEBER LANDSCAPE MANAGEMENT
   WESTBURY FISH CO
   WILLIAM GROVE
   WIND RIVER ENVIRONMENTAL LLC
   WOODCOCK REFRIGERATION INC.
   YAHOO! INC.
   YORKTOWN INSERT CORP




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          PowerDocs://DOCS_DE/222232/3
nt 1 ID
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Split/Merged cell
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Statistics:
                    Count
Insertions                                6
Deletions                                41
Moved from                                0
Moved to                                  0
Style change                              0
Format changed                            0
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